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IN THE UNITED sTATES DISTRICT coURT Flmav___
FoR THE wESTERN DISTRICT op TENNESSEE """““°‘°
wEsTERN DIVISION 053|_;{;2
AH 6:¢,2

 

UNI'I`ED STA'I'ES OF AMERICA

Plaintiff,

Criminal No .Qi-Q§§?£ Ml

(30~Day Continuance)

 

 

 

 

 

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Defendant(s}.

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I`IME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, September 23. 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

This document entered on the docketsheet fn cnmpliancq
with Ru|e 55 anc.i/<Jr 32(b) FRCrP on '

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50 ORDERED this 26th day of August, 2005.

QQWQQQ

JON PHIPPS MCCALLA
UN TED STATES DIS'I`RICT JUDGE

 

 

 

 

 

Counsel for Defendant(s)

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 74 in
case 2:05-CR-20078 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

NNESSEE

 

Timothy R. DiScenZa

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Honcrable J on McCalla
US DISTRICT COURT

